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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UT Brands, LLC                               )      Case No. 1:19-cv- 6599
                                             )
v.                                           )      Judge:         Hon. Andrea R. Wood
                                             )
THE PARTNERSHIPS and                         )      Magistrate:    Hon. Sunil R. Harjani
UNINCORPORATED ASSOCIATIONS                  )
IDENTIFIED ON SCHEDULE “A,”                  )
                                             )

        Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe           Store Name                               Store ID
 47            Do It At Possible Moment Store           5047362

and hereby dismisses them from the suit without prejudice.

Dated this 8th Day of April 2020.
                                             Respectfully submitted,



                                             By:      s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record

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